Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 1 of 9 PageID #: 62




                                 Exhibit D
                        (Forged) Bills of Lading
Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 2 of 9 PageID #: 63
Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 3 of 9 PageID #: 64
Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 4 of 9 PageID #: 65
Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 5 of 9 PageID #: 66
Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 6 of 9 PageID #: 67
Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 7 of 9 PageID #: 68
Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 8 of 9 PageID #: 69
Case 1:22-cv-05418-CBA-SJB Document 1-8 Filed 09/12/22 Page 9 of 9 PageID #: 70
